Case 3:14-cr-02054-H    Document 80          Filed 01/22/15   PageID.230   Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                    UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                        Criminal Case No. 14CR2054-H
12                              Plaintiff,             Booking No. 48670-298
13                      v.                             JUDGMENT AND ORDER OF
                                                       DISMISSAL
14
15    HECTOR CARRILLO (2),

16                              Defendant.

17
18         GOOD CAUSE APPEARING and upon the motion of the government, IT IS
19   HEREBY ORDERED that the Second Superseding Indictment in the above entitled
20   case against defendant Hector Carrillo is dismissed without prejudice. The
21   defendant is hereby discharged.
22         IT IS SO ORDERED AND ADJUDGED.
23
24    Dated: January 22, 2015
25                                                HONORABLE MARILYN L. HUFF
                                                  UNITED STATES DISTRICT JUDGE
26
27
28
